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8                                   UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 )      Case No: 1:20-cr-0214 DAD BAM
                                                )
12                    Plaintiff,                )      ORDER APPOINTING COUNSEL
                                                )
13            vs.                               )
                                                )
14    ISRAEL MUNGUIA-MUNOZ,                     )
                                                )
15                    Defendant.                )
                                                )
16
17           The defendant has attested to his financial inability to employ counsel and wishes the
18   Court to appoint counsel to represent him. Therefore, in the interests of justice and according to
19   Sixth Amendment to the United States Constitution and 18 U.S.C. § 3006A, the Court
20   ORDERS:
21           1.      Victor M. Chavez is APPOINTED to represent the above defendant in this case
22   effective nunc pro tunc to November 11, 2020. This appointment shall remain in effect until
23   further order of this court.
24
25   IT IS SO ORDERED.
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         Dated:     November 16, 2020                          /s/ Jennifer L. Thurston
27                                                     UNITED STATES MAGISTRATE JUDGE

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